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wILLIAM szYMczAK, on behaifofhimself US DC WP SDNY

 

and all others similarly situated,

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- against -
CLAss AcrIoN
NissAN NoRTH AM_ERICA INC., coMPLAINT JUDG'= |V|OTZ
n Defendam. JURY TRIAL DEMANDED

 

 

_.......... _____________________ X

Plaintiff, WILLIAM SZYMCZAK (“Plaintiff”), on behalf of himself and all others
similarly situated, by his undersigned counsel, alleges, against Defendant Nissan North Arnerica
Inc., (“Nissan” or “Dei`endant”), the following upon personal knowledge as to his own acts, and

upon information and belief, based on the investigation conducted by his counsel, as to all others

allegations:
SUMMARY OF 'I`HE ACTION
l. Plaintift` brings this class action complaint on behalf of himself and all others

in the State of New York Who purchased and/or leased a model year 2005 Nissan Pathiinder
(“Pathi`mder" or “Vehicle”) which had or currently has a defect caused by coolant from the
radiator leaking into the transmission (the “Class”).

2. As alleged herein in greater detail, the 2005 Pathf`inders are equipped with defective
radiators which leak coolant into the Vehicle’s`transmissions thereby causing damage to the

transmission resulting in loss of power to the drive train, often leading to complete transmission

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failure. In addition, this defect (the “Defect”) is unreasonably dangerous, as it can cause
complete transmission failure while the Pathfinder is being drivenl This can result, and has
resulted, in the Vehicle breaking down on the road and grinding to a sudden stop.

3. Nissan was on notice that the Pathfinder’s radiators were defective and not fit for
their intended purpose and that the Defect caused damage to, or loss of, the car’s transmission
Nissan concealed the existence and nature of said Defect from Plaintiff and the Class members at
the time of purchase or lease of their vehicles and thereafter, including during servicing visits.
Nissan has not recalled the Pathfinder to repair the Defect, nor has it offered to repair the Defect
free of charge, nor has it offered to reimburse Nissan owners, present or past, who incurred costs
relating to repair or replacement of the radiator and/or damage to the transmissions

4. The Basic Warranty on the Pathfinder covered repairs “needed to correct defects in
materials or Workmanship” up to 36 months or 36,000 miles, whichever came first. In addition,
there was additional warranty coverage entitled “Powertrain Coverage” for up to 60 months or

'60,000 miles, whichever came tirst. The Powertrain Coverage included:

ENGINE

Cylinder heads and block and all internal parts, rocker
covers and oil pan, valve train and front cover, timing chain
and tensioner, oil pump, water pump and fuel pump, fuel
injectors, intake and exhaust manifolds and supercharger,
flywheel, seals, and gaskets

TRANSMIssloN AND TRANsAxLE
Case and all internal pans, torque converter and converter
housing, automatic transmission control rnodule, transfer

case and all internal parts, seals and gaskets, clutch cover
and housing, and electronic transmission controls

5. The radiator leak and transmission damage to Plaintiff’s Pathfinder occurred within
the period covered by the Powertrain Coverage, yet Nissan refused to completely identify the

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probleni until after the Powertrain Coverage had expired even though Plaintiff had brought the car
in because of potential radiator issues which could have been repaired prior to the transmission
damage and under the warranty coverage Upon information and belief, Nissan has refused to
- compensate other members of the Class for repairs to their Pathfinder’s radiators and transmission
caused by the Defect even when the repairs took place before the expiration of the Powertrain
Coverage on the improper grounds that the transmission damage resulting from the Defect is not
covered Also, upon information and belief, Nissan has refused to compensate other members of
the Class for repairs to their Pathfinders caused by damage from the Defect upon on the grounds
that the Basic Warranty and/or Powertrain Coverage have expired, notwithstanding that Defendant
was aware of the Defect much earlier and aware that the Defect could result in a dangerous
condition, yet failed to inform Class members thereofl Consequently, Plaintiff and the Class
members have been required to pay for repairs resulting from the Defect. Defenclant is liable to
Plaintiff and members of the Class because:

a. The repairs were covered under the Basic Warranty because the repairs resulted from
“defects in materials or workmanship” ; and/or

b. T he repairs were covered under the Powertrain Coverage because damage to the
Transrnission was covered', and/or l

c. Even if the repairs occurred after both warranty periods expired, the Defect existed
prior to expiration of the Warranty periods and was known to exist by Nissan during the warranty
periods, making the durational limits that Nissan seeks to rely on unconscionable; and/or

d. the Defendant knowingly concealed the Defect.

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6. Plaintiff alleges that Nissan is responsible and liable for the costs of
replacing or repairing the Vehicles’ defective radiators and/or the transmissions which were
damaged by the leaking coolant from the radiators and hereby seeks reimbursement to Plaintiff
and members of the proposed Class for such needed repairs and for attorneys' fees and costs

n PAR'I`IES

7. Plaintiff brings this action both in an individual capacity and on behalf of all others
similarly situated In or about January 2006, Plaintiff purchased a 2005 Nissan Pathfinder from
Midclletown Nissan, Inc., a Nissan dealership, located in Orange County, New York. At the time
of the Purchase, Plaintiff was a resident of Orange County, State ofNew York. The vehicle Was
registered and insured in the State ofNeW York. Plaintiff intended to use and did use the vehicle
in New York. l

8. Defendant Nissan is a foreign corporation, with its principal place of business and
national headquarters located in T.en_nessee. Defendant designs, manufacturers and sells
automobiles and other vehicles under several prominent brand names, includes the Nissan
Pathfmder® throughout the United States, including in the State ofNew York. In addition,
Defendant’s 2005 Pathfmder models are advertised, distributed and sold at multiple places of
business in the State of New York- through Defendant’s dealers, among other places

JURISDICTION AND VENUE

9. This Court may assert diversity jurisdiction of this matter under the Class Action
Fairness Act, in that the Plaintiff resides in the State ofNew York, and Defendant’s principal place
of business is in Tennessee. Defendant is not incorporated in New York. Defendant, however,

has sold and/or leased, at minimum, a sufficient number of defective Vehicles in the State ofNew

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York, and the amount in controversy exceeds $5,000,000. The case is properly brought in this
District as Plaintiff resides in the District, Defendant sold the defective vehicles in the District,
maintains sales and service authorized dealers in the District and advertises its vehicles for sale in

the District.

FACTUAL BACKGROUND AND SUBSTANTIVE ALLEGATIONS

10. P`laintiff purchased a new 2005 Pathfinder vehicle from a Nissan dealership located
in Newburgb, New York in or about January 2006, while a resident of the State of New York.
The Vehicle was delivered to Plaintiff in New York and/or put in service in or about January,
2006.

l l. At the time of purchase, Nissan, through its dealership, employees, agents and
servants represented to Plaintiff that it thoroughly inspected the Vehicle and that the entire Vehicle
was in good condition and fit for its intended purpose

12. At all relevant times, the Vehicle was serviced timely and properly.

13. When the Vehicle had approximately l4,282 miles, it was brought into Defendant’S
dealership, which claimed to identify a small leak. The same or similar problem was identified
again at around 22,000 miles when again, the Vehicle was brought into the Nissan dealership, At
neither time did the Defendant reveal that the vehicle model had a Defect in the cooling system. At
approximately 52,000 miles, the Vehicle again was brought into Nissan’s dealership , because of
problems with the Pathiinder’s cooling system. At this time, the Defendant again concealed that
the Vehicle model had the Defect in that the cooling system radiator was prone to leaking fluid into

the Vehicle’s transmission Again the vehicle was brought into Nissan at between 60,000 and

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61,000 miles and then at 65,825 miles. On this final visit, the dealership claimed that Plaintiff
needed to replace the radiator. At no time did Nissan inform Plaintiff that the 2005 Pathfinders had
been experiencing coolant system and radiator problems

14. Unknown to the Plaintiff, the 2005 Pathiinder had a defective radiator which leaked
coolant into the transmission system, thus destroying the transmission Despite Nissan’s
knowledge of the fact that this model Vehicle had the Defect which caused the radiator fluid to
leak into the transmission Nissan continued to design, manufacture and sell or lease the defective
2005 Pathiinders while failing to correct and concealing the existence and nature of the Defect. `

15. Plaintiff and/or his wife were informed by Nissan on the visit, described above, at
65,825 miles that the repairs to the Pathtinder caused by the leaking radiator would cost several
thousands of dollars and that it would not be a warranty item under either the 3 year/3 6,000 mile
warranty or the 5 year/60,000 Powertrain Coverage. As_ 'a result, Plaintiff had to bear the entire
expense to have both the Pathfmder’s radiator and transmission replaced Plaintiff had the repairs
made at a cost of approximately $5500 in or about March 2010.

16. Plaintiff subsequently learned that the 2005 Pathtinder model had the Defect.
Plaintiff was informed further that in or about early 2005 it became apparent to Nissan that there
was a design and a manufacturing defect in the radiator and transmission systems

17. Nissan, nevertheless continued to represent to new purchasers and/or lessees of the
Pathf'mders, as it did with Plaintiff, that said Pathfinders, including the integrity of their radiator
and transmission assemblies, were properly designed, in good working condition, and fit for their
intended purpose `

18. Nissan, through its dealerships, agents, servants and employees, were put

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on actual and/or constructive notice of the defective radiators and resultant transmission damage
in the_2005 Pathfinders since at least the beginning of 2005. Thus, when Plaintiff purchased his
Pathfinder in or about January 2006, and when the Vehicle was brought into Nissan’s dealership
on multiple occasions, Nissan knew, or should have known, that the radiator leaked coolant which
caused transmission damage and that thus, these Vehicles contained the Defects. _Nissan,
nevertheless failed to disclose the existence and nature of the Defect and any advertisements
agreements publications websites, owner manuals, warranty agreements or literature given to
new purchasers or lessees of the Vehicle, including Plaintiff and members of the Class. Nissan
also failed to provide owners and/or lessees of the Vehicle with any written warnings or notices
regarding the Vehicle’s defective radiators and/or transmissions Further, Nissan refused to cover
the'cost of replacing these parts claiming that such costs were not covered by the Basic Warranty
or Powertrain Coverage, even though (a) the radiator Defect surfaced prior to expiration of the
Basic Warranty and/or Powertrain Coverage-on Plaintiff’s Vehicle and (b) the durational limit of
either the Basic Warranty period or the Powertrain Coverage was unconscionable and should be `
stricken as the damage was the result of a Defect in design and/or manufacture known to the
Defendant but concealed from Plaintiff and the similarly situated Class members t

19. Further, even though Nissan had actual knowledge of the Defects described above,
it did not correct the Defect and concealed the existence of the Defect in the 2005 Pathfinder.

20. Uponinformation and belief, as early as 2005, Nissan was, in fact, aware of the

Defect and the inherent and dangerous driving problem the Defect created Upon information and _ '

belief, and for purely economic motives, the Defendant chose to continue to produce Pathfinder

vehicles with defective radiators since it was less expensive to do that than to modify the

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manufacturing or design process to correct the Defect in that model or initiate any informal or
formal recall. 7

22. Various complaints filed by purchasers of the Pathfinder vehicles with the
National Highway _Safety Administration (“ NHSTA”)just in the past two months demonstrate the
` potential dangerous nature of the defective condition For example, one consumer’s complaint

regarding an occurrence as recent as 'August 9, 2010 stated:

MY 2005 NISSAN PATHFINDER BEGAN TO Sl-IUTTER TI-IEN.JERK BACK INTO
NORMAL DRIV]NG AS IT REACHBD SPEEDS OF 60~70 MPH. lT WAS VERY
SPORADIC IN THE BEGINNING, BUT STARTED TO HAPPEN MORE FREQUBNTLY
AND AT LOWER SPBBDS FOR A‘LONGER PERIOD OF TIME. l BROUGHT THE TRUCK
INTO `NISSAN WITH 70,000 M]LES, AT WHICH TIME l WAS TOLD THAT THE
RAD]A'I`OR L_EAKED lNTO THE TRASMISSION CAUSING THE NEED FOR BO'I`I-l TO
BE. RBPLACED AT THE COST OF $6700.00. l DID ALOT OF RBSBARCH AND
DlSCOVERED THAT HUNDREDS AND HUNDREDS OF PEOPLE WITH THE 2005
NISSAN PATHFINDBR. WITl-l APROX_IMATELY THE SAME MlLBAGE (JUST AFTER
WARRAN'I`Y BXPIRBS) ARE EXPERIENCING THE SAME ISSUES. lT SEEMS AS
THOUGH A FAULTY RADIATOR SYSTEM WAS lNSTALLED lNTO THESE VEH|CLES

23. Another complaint filed with the NHSTA on or about August 14, 2010 stated:

NOTICED ROUGH SH]FTS I`N TRANSMISSION, BVBNTUALLY FA[LED TO E`.NGAGE
5TH GEAR. TOOK TO DEALER, TRANSMISSION LINES INSIDE RADIATOR HAD
RUPTURED. REPLACB_D TRANSMISS[ON, RAD]ATOR AND LlNES AT A COST OF
OVER $8000 AND 4 WEEKS TIME. THIS OCCURRED AT 67K MILES. AT 87K MILES,
RADIATOR FLUID IS MlLKY AND SHOWS SYMP'I`OMS OF Another RUPTURE OF
COOL,ANT LINES INSIDE TRANSM|SSION. DEALBR AND NISSAN USA DO NOT
RECOGN]ZE TI-ilS AS A SAFETY ISSUE OR lnherent DBFECT IN ENGINEERING.
HOWBVER, A SlMPI..E SEARCH WILL SHOW AN E?{TRBMELY LARGENUMBER OF`
PEOPLE WlTl-l SlMlLAR ISSUES CAUSBD BY FAULTY COOLING LINES lN THE
RADIATOR RUPTUR|NG CAUSI`NG TRANSMISSION ABRUPT BEHAVIOR AND 'I`HE
DANGER FOR LOSS OF VEHICLE CONTROL DUE TO Tl-IE FAILURE.

24. On August 23, 2010 another person from Tarpon Springs, Fla.

complaining states:

I OWN A 2005 NISSAN PATHFINDER LE, lT CURRENTLY HAS 64,000
MILES, AT APPROX. 58,000 MILES I NOTICE EXCESSIVE
VIBRATION THRU OUT THE VEHICLE AT ABOUT "MMPH, l TOOK
THE VEl-IICLE TO I~IAVE THE TIRBS BALANCED AND ROTATED

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BUT THIS DID NOT FIX THE PROBLEM, TOOK THE VEHICLE TO
NlSSAN WHO TOL_D ME Tl-IEY COULD NOT DUPI_.ICATE THE
PROBLEM BUT] SHOULD KEEP AN EYE ON lT, Wl-IEN lT WAS TIME
FOR MY OIL CI-IANGB l TOLD THEM THE PROBLEM STILL EXISTS
AND AGAIN THE`.Y COULD NOT FIND A PROBLEM SO THEY
RE-BALANCB THE TIRES WH|CH DID NOT CHANGE ANYTI-I]NG. I
DID SOME RESEARCH ONLINE ONLY TO FIND OUT THA'I` THERE
ARE HUNDREDS OF THREADS RE.GUARDING 'I`HIS INSiDENT
WERE THB RADIATOR COOLANT LI`NE LEAKS INTO THE
TRANSMISSION AND CAUSING DAMAGE TO THE TRANSMISSION,
IT IS A KNOWN ISSUE LEADING TO TI~lE REPLACEMBNT OF THE
RAD[ATOR AND TRANSMISI(_)N, CAR SHAKES TREMENDOUSLY
AS IF IT WERE FALLING APART, l-IOW CAN 'I`HERE BE`, SO MANY
COMPLAINTS AND YBT NISSAN DOES NOTHlNG TO FIX lT,
EXTENDED WARRANTIES COVER TRANSMISSION DAMAGE BUT
YOUR STILL LEFT WITH A $1000.00 BIL FOR THE RADIATOR

25. A driver from Temple, Texas, posted a complaint on the NYSTA website on

August 16, 2010 which stated:

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THE COOLANT LINB lN THB RADIATOR GOT A LEAK AND MIXED
TRANS[MI]SSION F`LUID WI'I`H Tl-IE COOLANT CAUS]NG ME TO HAVE TO
REPLACE THE RAD]ATOR. NOT SURE IF THIS IS WHAT CAUSES A MISS FIRE
lN CYLINDER # 2 BUT NOW THERE IS A' PROBLEM WITl-I THAT AS WELL.
HOPEFULY IT WAS CAUGHT lN TIME`. AS NOT TO DAMAGE THE
TRANSMISSION. I HOPE NISSAN WILL OWN UP TO 'I`HIS PROBLEM AND MAKE '
THE NBCESSARY REPAIRS AND RESTITUTION TO PATHFINDER OWNBRS.

26. A complaint posted on the NHSTA website on August 5, 2010 from a driver of a
2005 Pathfmder in Westfield, Mass. demonstrates that the Defect has resulted in a dangerous .
driving condition:

2005 NISSAN PATHFINDER DEFECTED RADIATORS LEAKING lNTO TR.ANSMISS!ON,
RUSTING COMPONETS LEADlNG TO TRANS|V[ISSION SLIPP]NG AND FAILURE, l WAS
ON THE MASS PIKE HIGHWAY GOlNG ABOUT 60 WHEN MY PATHFINDER JUST PULL
BACK LIKE YOU DROPPED IT IN LOW, 18 WHEELER ALMOST DROVE RIGHT THREW
MY BACK OF PA'I`HFINDER, TH]S HAS HAPPBNED MORE THEN ONE TIME,
SOMETIMES WHILE STOPPED IN TRAFFIC IT FEELS LIKE THE TRASMISSION IS
PUL,LING FORWARD WITHOUT PUT'I`ING YOUR FOOT ON THE GAS, l HAVE DONE
SOME RESEARCH ONLINE TO FIND THE SAME PROBLEM MANY OTHERS ARE
HAVING l`N THE RADIATOR THERE IS TRANSMISSION FLUID( LOOK} FOR WHITE
MILKY SUBSTANCB ALSO ANTEFRBEZE GOING INTO TRASMISSION, PLEASE
SEARCH 'I`HE WBB FOR 2005 NISSAN PA'I`HFINDERS COMPLAlNTS AND PROBLEMS,
THIS lS VARY DANGEROUS TO BE DRIVING_IT lS UNPREDICTABLE WHEN lT
I-IAPPENS AND I WAS_ TOLD JUST A MATTER OF DAYS BEFORE I WILL HAVE TO

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RBPLACE BOTl-I RADIATOR AND 'T`RANSMISSION, THIS iS A TO'l’AI_, DE`.FECT O_N
NlSSAN, NOT FAIR AT ALL, Tl-IERE SHOULD BE A RBCALL ON 'I`HIS A BlG SAFTY
lSSUE COULD CAUSE A SBRIOUS ACCIDENT

That the 2005 Nissan Pathiinder was experiencing significant problems with radiator leaks
and damage to transmission was known to Defendant It was also known to the Defendant that
this Defect caused a potentially dangerous driving condition if not corrected when experienced by
the vehicle owner.

CLASS AC'I`ION ALLEGATIONS

 

27. Plaintiff brings this action on his own behalf and on behalf of all others persons
similarly situated, pursuant to Federal Rules of Civil Procedure 23(a) and (b)(3), on behalf of a
class consisting of all persons who purchased or leased in l\_lew York the 2005 Nissan Pat_htinder
vehicle (the “Class”). Excluded from the class are Defendants, officers and directors of the
company, at all relevant times, members of their immediate families and their legal
representatives heirs successors or assigns and any entity in which Defendant_s have or had a
controlling interest Plaintif`f asserts that the Class may be divided into two subclasses The first 7
consists of all Class members who have experienced some or all of the aforementioned problems
with their Pathfinders and whose Vehicles had the Defect and have expended sums to repair their
vehicles as a result (the “Damages Subclass”). The second seeks declaratory relief`,' and consists
of Class members_who will have or may have the defective radiator and/or transmission problems
manifest in the future. (the “Declaratory Relief Subclass”). Some Class members may overlap
the subclasses since they have paid for a replacement, and thereby suffered damages but to the

extent they may again experience the Defect and require additional radiator or transmission repairs

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beyond that for which they paid, they are entitled to declaratory relief. Except Where otherwise
stated, the term “Class” includes both subclasses

28. The Class which Plaintiff seeks to represent is defined as:

All persons who purchased and/or leased a 2005 Nissan Pathfinder automobile in

the State ofNew York. The term “persons"’ includes individuals as well as profit

and not~for~profit corporations partnerships limited liability companies limited _

liability partnerships joint ventures sole proprietorships, associations firm,

trustand other business and governmental entities Excluded from this Class are

any persons or other entity related to or affiliated with Defendant; any person, firm,

trust, corporation, or other entity who purchased, for resale, from Defendant, or any

entity related to or affiliated with Nissan, a new Pathfinder model year 2005 or any

person who has an action for damages for personal injury or death or property

damage against Defendant

NUMEROSITY

29. T_he members of the Class are so numerous that joinder of all members is
impracticable The Class is made up of thousands of members The precise number of Class
members can only be ascertained through discovery, which includes Defendant’s sales service,
maintenance and complaint records The disposition of their claims through a class action will
benefit both the parties and this .Court.

COMMON ()UESTI()NS OF LAW AND FAC'I`

30. There is a well-defined community of interest in the questions cf law and fact
involved affecting the Plaintiff and members of the Class

31. The questions of law and fact common to the Class and in particular, the

Damages Subclass, predominate over questions which may affect individual members and

include the following:

ll

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(H)

Whether the radiators in the 2005 Pathfinders contained a defect which

caused them to leak and whether such radiators failed to conform to industry standards or

contained other substantial defect.

(b)

Whether any leak from the 2005 Pathfinders’ radiator caused damage to or

loss of the vehicle’s transmission;

(C)

(d)
(@)

(f)

(e)

(h)

whether the Defect constitutes a breach of the implied warranty of
merchantability and of express warranty;

whether the Defendant violated New York’s General Business Law § 349;
whether members of the Class are entitled to be notified and warned about
the Defect and are entitled to the entry of final and injunctive relief
compelling Defendant to issue a notification and warning to all class
members concerning such a defect;

whether Class members are entitled to actual damages and if so, the
appropriate amount thereof;

whether Defendant deliberately misrepresented or failed to disclose
material facts to Plaintiff`_ and the Class members

Whether Defendant improperly gave an express warranty which was
limited by time despite Defendant's knowledge that the defect with the
radiators and/or resultant transmission damage would become apparent
after either the Basic Warranty expired or after the Powertrain Coverage

expired; and

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(i) whether the durational limits of the Basic Warranty and/or the Powertrain
Warranty as applied to this significant defect are improper, unconscionable
and therefore unenforceable

TYPICALITY'

32. The claims and defenses of Plaintiff, as the representative Plaintiff, are typical of
the claims and defenses of the Class because Plaintiff and the Class members all owned Vehicles
with defective radiators which were designed, manufactured and sold by Defendant t Plaintiff,
like all Class members purchased or leased a 2005 Pathfinder without having received any
warning or notification from the Defendant of the radiator defect

ADEQUACY OF REPRESENTATION

33. ' Plaintiff, as the representative Plaintiff, will fairly and adequately assert and protect
the interests of the Class as:

(a) Plaintif`f has hired attorneys who are experienced in prosecuting class action
claims and will adequately represent the interests of the Class; and

(b) Plaintiff has no conflict of interest that will interfere with the maintenance
of this class action.

PREDOMINANCE

34. With respect to the Damages Subclass and/or Class questions common to the class
predominate over those which only affect individual owners This case involves one model car.
The radiator systems and transmissions are interchangeable from one model to the next The .

radiators were defective regardless of who was driving the Vehicle or how they'were being driven.

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liability will primarily be predicated upon the jury‘s evaluation of the design of the radiator and ,

the transmission and Defendant's awareness of the problem and its effort to resolve it.

SUPERIORITY

 

35. A class action provides a fair and efficient method for the adjudication of

controversy for the following reasons:

(a)

(b)

(O)

(d)

(€)

The common questions of law and fact set forth above predominate over

any questions affecting only individual Class members

The Class is so numerous as to make joinder impracticable The Class

however, is not so numerous as to create manageability problems There
are no unusual legal or factual issues which would create manageability
problems

Prosec_ution of a separate_action by individual members of the Class would
create a risk of inconsistent and varying adjudications against Defendant
when confronted with incompatible standards of conduct;

The claims of the individual Class members are small in relation to the
expenses of litigation, making a class action the only procedure in which
Class members can, as a practical matter, recover; and

A class action would be superior to and more efficient than adjudicating

thousands of individual lawsuits

ESTOPPEL FROM PLEAD]NG AND TOLLING OF

APPLICABLE STATUTES OF LIM[TATIONS

36. Plaintiff hereby incorporates by reference each of the preceding allegations as

though fully set forth herein

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37. Defendant is estopped from relying upon any statutes of limitation byreason of the
r fraudulent misrepresentations of its officers employees and agents suppression and concealment

of material facts and any applicable statutes of limitation are tolled by such conductl

Fm,_smoausnor Ao'rroN
(Deceptive Trade Practices) _
(Violation of General-Business Law § 349 & 350 Deceptive Acts and Practices)
38 Plaintiff hereby incorporates by reference the allegations contained in all
` preceding paragraphs of this Complaint as though set forth fully herein Plaintiff asserts this
cause of action on behalf of himself and the Class
39. Defendant’s practices acts policies and course of conduct, as described
above, were intended to induce, and did induce, Plaintiff and the Class Members to purchase
and/or lease the above-mentioned Vehicle with the defective radiator and transmission system
design
40. Defendant sold and/or leased the Class Vehicles knowingly concealing that
they contained the design Defect.
41. Defendant’s practices acts policies and course of conduct are actionable in
that:
(a) Defendant actively and knowingly misrepresented to Plaintiff and the Class
Mernbers at the time of purchase or lease that the Class Vehicles including the radiator and

transmission system design of said Vehicles did not contain a material defect, were in good

working order, not defective and merchantable;

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(b) Defendant failed to give adequate warnings and notices regarding the use,
defects and problems with the radiator and transmission system‘defect to consumers who
purchased or leased said vehicles despite the fact that Defendant possessed prior knowledge of the
inherent defects to the vehicles’ radiators;

(c) Defendant failed to disclose to _Plaintiff and the Class Members either
through warnings or recall notices and/or actively concealed the fact from them that the radiator
and transmission system was defective, despite the fact that it learned of such Defect as early as
2005.

(d) Defendant caused Plaintiff and the Class Members to expend sums of
money at its dealerships and elsewhere to repair and/or replace the radiator and transmission
system and/or radiator and transmission system components despite the fact Defendant had prior
knowledge of the defects at the time of placing said vehicles into the stream of commerce

(e) 7 Defendant occasionally has admitted to some Vehicle owners or lessees by
its words and action, that the Defect should be covered by its warranties and denied this to others
Defendant thereby maintained a secret warranty practice for some while denying it for others thus
constituting an unfair, deceptive, arbitrary and unconscionable trade practice

42. Each and all of the aforementioned conduct is and was deceptive, false, fraudulent
and constitutes an unconscionable commercial practice in that Defendant has by the use of false or
deceptive statements and/or knowing intentional material omissions misrepresented and/or
concealed the true defective nature of the radiators and/or transmissions for the 2005 Pathfinder.

43. In making these misrepresentations of fact and/or material omissions to

prospective customers while knowing such representations to be false, Defendant has

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misrepresented and/or knowingly and intentionally concealed material facts and breached its duty
not to do so.

44. Members of the public were deceived by and relied upon Defendant's `
affirmative misrepresentations and failures to disclose

45. Such acts by Defendant are and were deceptive acts or practices which are
and/or were, likely to mislead a reasonable consumer purchasing the vehiclel Said deceptive acts
and practices aforementioned are material The sale and distribution in New York of the Class
Vehicles was a consumer-oriented act and thereby falls under the New York consumer fraud
statute, General Business Law §§ 349 and 350.

46. _ As a direct and proximate result of these unfair, deceptive and
unconscionable commercial practices Plaintiff and the Class l\/lembers have been damaged as
alleged herein, and are entitled to recover actual and/or punitive damages and/or trebled or
statutory damages to the extent permitted by law, including class action rules in an amount to be
proven at trial.

4 47. In addition, Plaintiff seeks punitive damages and reasonable attorneys’ fees The
Declaratoryl Judgment Subclass Members seek a declaration that their defective radiator and
transmission systems must be repaired at Defendant’s expense

second CAUSE or norton
(Unjust Enrichment)

48. Plaintiff hereby incorporates by reference each of the preceding allegations as

though fully set forth herein.

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49. Defendant distributed the Vehicles into the stream of commerce with the
knowledge that these Vehicles would be purchased or leased by consumers based on a reasonable
expectation that the radiator and transmission system in the Vehicles would be free of defects

50. Defendant distributed the Vehicles with the knowledge that the leak from the
radiators and resultant transmission damage from the leaks made these Vehicles worth less than
the defect-free price being paid for them.

51. Nissan knew that, if it disclosed its knowledge of the existence of the Defect, it
would be liable for replacement or repair of defective radiators and/or for repair or replacement of
damaged transmissions and would face adverse consequences to its reputation and sales In
addition, failing to disclose the Defect would allow Nissan’s dealerships to generate additional
significant revenues from the costs associated with the replacement of the defective radiators
and/or damaged transmissions that had experienced the manifestations of the Defect. As a result,
Nissan sought to avoid this liability and the adverse consequences and at the same time to enhance
the revenue stream to its dealership’s repair garages by intentionally and fraudulently concealing

this Defect.

52. Defendant received an economic benefit at the expense of the consumers of the
Vehicles.

53. In the circumstances principles of equity and good conscience make it unjust for 7
Defendant to retain the benefit conferred on it by consumers of the Vehicles and Defendant should

be required to pay for this benefitl

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THIRD CAUSE OF ACTION -
(Breaeh of Express Warranty)

54. Plaintiff hereby incorporates by reference the allegations contained in all preceding
paragraphs of this Complaint as though set forth fully herein.

5 5. Plaintiff and the Class members have entered into certain written warranty
agreements with Nissan. Pursuant to the Basic Warranty, Nissan agreed it would provide
Plaintiff and the Class members with 2005 Pathfinder vehicles that were in proper working order
and would make all such replacements or repairs “needed to correct defects in materials or
workmanship” of all parts and components of each new Pathfinder vehicle supplied by Nissan.
Nissan was therefore obligated to repair and/or service any defects or problems with the radiators '
. and/or transmission which resulted from the Defect, that Plaintiff and the Class members
experienced ln exchange for these duties and obligations, Nissan received payment of the
purchase or lease price for the above-mentioned Pathfinder vehicles from Plaintiff and the Class
members

5 6. The Basic Warranty’s express terms were breached by Defendant with respect to
Plaintiff and all Class members who did not exceed the 36,000 mile/36 months since Defendant
refused to repair the radiator leaks and/or resultant transmission damage experienced by Plaintiff
and Class members even when the symptoms of the inherent Defect appeared within the period of
Basic Warranty coverage In addition and alternatively, the Powertrain Coverage Warranty was
breached by Defendant to the extent such symptoms and Defect to the radiator and/or resultant
transmission appeared within the period of the 60 month/60,000 mile Powertrain Coverage, and
Nissan refused to repair the Defect under warranty.

57. In addition, Defendant is aware that the Defect will continue to result in radiator l

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leaks and transmission damage and failure even after either of the above referenced warranty
periods have lapsed and such conduct on the part of Defendant is patently unconscionable,
rendering the warranty’s durational limitations unenforceable since Nissan was aware of basic
design defects in the system prior to selling or leasing the vehicles
5 8. The durational limitation in the warranty as well as the unconscionable

interpretation of the scope of warranty coverage by Defendant are unenforceable as
unconscionable provisions under New York law, including but not limited to New York’s Uniform
Commercial Code section 2-3 02 which states as follows:

§2-302. Unconseionable Contract of Clause

(l) If thercourt as a matter of law finds the contract or any clause of the contract to

have been unconscionable at the time it was made the court may refuse to enforce

the contract, or it may enforce the remainder of the contract without the

unconscionable clause, or it may so limit the application of any unconscionable

clause as to avoid any unconscionable result.

(2) When it is claimed or appears the court that the contract or any clause thereof

may be unconscionable the parties shall be afforded a reasonable opportunity to

present evidence as to its commercial setting,'purpose and effect to aid the court in

making the determination

59. Moreover, Nissan used its superior knowledge of the existing Defect to offer a

warranty which it knew or should have known would not cover this material Defect known to
Nissan to exist in the Vehicles at the time of purchase or lease by Plaintiff and members of the
Class. Nissan breached the express warranty in providing Plaintiff and the Class with 2005

Pathfmder Vehicles which contain a defect known to Defendant at the time of delivery of the

defective Vehicles and which it has refused to repair or replace

60. Plaintiff gave notice to Defendant of his Vehicle’s defect through its Dealer and

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agent and through its customer service division, and gave Defendant a chance to repair the defect

under the Basic Warranty and/or the extended Powertrain Coverage, which Defendant refused to

do. 1
61. Nissan also violated the Basic Warranty and/or Powertrain Warranty and any

implied covenant of good faith inherent in such agreement by selling Plaintiff and the Class
members vehicles with limited warranties under circumstances in which Nissan knew or should
have known that the defective radiator would fail and cause the transmission to fail prematurely
beyond then warranty periods

62. As a result of the foregoing, l’laintiff and the Damages Subclass members are
entitled to compensatory damages for breach of express warranty in an amount to be proven at
trial, and punitive damages because defendant acted in a manner_contrary to public purpose and
with intent to exclude such Defects from coverage In laddition, Plaintiff seeks a declaratory
judgment as set forth herein below in the Sixth Claim.

FOURTH CAUSE OF AC_TION
(Breach of Implied Warranty of Merchantability) ,

63. Piaintiff hereby incorporates by reference the allegations contained in all preceding
paragraphs of this Complaint as though set forth fully herein.

64. Nissan designed, manufactured and ultimately sold or leased the 2005 Pathfinder,
model year 2005, to Plaintiff and the Class members

65. Nissan was a merchant because it marketed, sold and distributed its Pathiinder
vehicles, model year 2005, to Plaintiff and the Class members

66. Nissan reasonably expected Plaintiff and the Class members to use the vehicles and

such use by Plaintiff and the Class members of the vehicles was reasonably foreseeable

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67. At the time that Nissan sold the vehicles to Plaintiff and the Class members it
impliedly warranted that said Vehicles including their radiators and transmissions were of
merchantable quality.

68. Nissan breached this implied warranty because the radiators that Nissan installed in '
the Vehicles was not of merchantable quality at the time the vehicles were sold.

69. Nissan had prior knowledge and notice of the defective nature of the Vehicles’
radiators and, therefore, of its breaches of warranty, but took no action to remedy the defects or to
cure the breach.

70. As a direct and proximate result ofNissan’s breaches of the implied warranty of
fitness Plaintiff and the Damages Subclass members have been injured in an amount to be proven
at trial. Members of the Declaratory Relief Subclass are entitled to relief requested therein.

FIFTH CAUSE OF ACTION
(Breach of Contract)

71. Plaintiff hereby incorporates by reference the allegations contained in all
preceding paragraphs of this Complaint as though set forth fully herein.

73. Plaintiff asserts this cause of action on behalf of himself and the Class

74. Plaintiff and the Class members have entered into certain contracts and warranty
agreements with Nissan. Pursuant to these contracts and agreements Nissan agreed to provide
Piaintiff and the Class members with certain 2005 Pathfinder vehicles that were in proper working
order and that were fit for their intended purpose This included the radiator and the transmission
systems of these vehicles Nissan was further obligated to repair and/or service any defects or

problems with the'vehicles that Plaintiff and the Class members experiencedl ln exchange for

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these duties and obligations, Nissan received payment of the purchase or lease price for the
above~mentioned Pathfmder vehicles from Plaintiff and the Class members

75. Plaintiff and the Class members satisfied their obligations under these contracts,
warranties and agreements.

76. Nissan failed to perform as required by the contracts and agreements, and breached
said contracts and agreements because it provided Plaintiff and the Class members with
Pathfinders vehicles with defective radiators and transmissions and failed to repair such defects

77. `Nissan also violated the implied covenant of ~ good faith inherent in such contracts
and agreements by selling Plaintiff and the Class members yehicles with limited warranties under
circumstances in which Nissan knew that the defective radiators and transmission would fail
beyond the warranty periodsl

78. As a result of the foregoing, Plaintiff and the Damages Subclass members are
entitled to compensatory damages in an amount to be proven at trial.

SIXTH CAUSE OF ACTION
(Declaratory Judgment for Declaratory Relief Subclass)

79. Plaintiff hereby incorporates by reference the allegations contained in all
preceding paragraphs of this Complaint as though set forth fully herein.

80. Plaintiff asserts this cause of action on behalf of himself and the Declaratory Relief
Subclass.

8 l. There is a justifiable dispute as to whether the radiators are and/or should be
covered under the Basic Warranty and/or the Powertrain 60 month/60,()00 miles Wan'anty by

Defendant

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82. By virtue thereof, Plaintifi` seeks a declaratory judgment declaring that the remedial
` work necessary to correct the defect, alleged herein with respect to the vehicles’ radiator and
transmissions are covered warranty claims

PRAYER FOR RELIEF

WHERFORE, Plaintiff, individually and on behalf of all others similarly situated, prays
for a judgment against defendant as follows:

a. y For an order certifying the Class and/or subclasses, appointing Plaintiff as
representative of the Class and each Subclass, and appointing the law firms representing Plaintiff
as counsel for the Class;

b. For a declaration that the remedial work necessary to correct the Defects is

covered by the Basic Warranty;

c. For compensatory damages sustained by Plaintiff and the Damages Subclass;

d. For compensatory damages and/or restitution or refund of all funds acquired by
Defendant from Plaintiff, the Damages Subclass, and the general public as a result of Defendant s
unlawful, unfair, fraudulent, deceptive and unconscionable practices described hereinabove in the
Consumer Fraud Act claim;

e. Trebling of damages suffered by the Class and/or appropriate subclass;

f. For payment of costs of suit herein incurred;

g. For both pre“and post-judgment interest on any amounts awarded;

h. Fcr payment of reasonable attorneys’ fees and expert fees; and

i. For such others and further relief as the Court may deem proper.

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DEMAND FOR JURY TRIAL

 

Plaintiff hereby demands a trial by jury on all claims so triable

Dat_ed: September 29, 2010

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Z, GOLDHAMER

 

 

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